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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

PERCY SHAW and GENEVA DAVIS,
as Co-Personal Representatives of the
ESTATE OF PORSHA SHAW,
Deceased, PERCY SHAW,
individually,
and ANGELA SMITH, as Personal
Representative of the ESTATE OF                   Case No.1 :08-cv-401
BRODERICK GREEN, Deceased,
                                                  The Honorable Janet T. Neff
         Plaintiffs,                              U.S. District Judge

         -vs-

LONDON CARRIER, INC., a foreign                   DEFENDANT FIRST CHOICE
corporation, and LARRY T. SHAW,                CARRERS' MOTION TO STRIKE ALL
and FIRST CHOICE CARRIERS, a                       OF PLAINTIFFS' EXPERTS
business entity,
       Defendants.


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     DEFENDANT FIRST CHOICE CARERS' MOTION TO STRIKE ALL OF
                                                 PLAITIFFS' EXPERTS


            1.         This lawsuit was removed from Calhoun County Circuit Court to this

Court on April 30, 2008.

           2.          The Case Management Order ("CMO") was entered November 6, 2008,

and required the then Plaintiffs and Defendants i to disclose the name, address, area of

expertise and a short summary of expected testimony from their experts on or before

Januar 2, 2009. See Docket # 20.


           3.          The Plaintiffs served noncompliant disclosures (expert witness list) three

days late on January 5, 2009, that did not include a short summar of the expert's

expected testimony. See Exhibit 1.2


           4.          On January 21, 2009, First Choice Carrier ("FCC") informed Plaintiffs

that their disclosures did not provide a short summary of expected testimony as required

by the CMO and requested that a short summary be provided. See Exhibit 2.

           5.          On January 21, 2009, Plaintiffs informed FCC that FCC's request for

Plaintiffs to comply with the CMO and provide a short summary of expected expert

testimony was "obviated" because expert reports were due on Februar 2, 2009. See

Exhibit 3.

           6.          Not only have Plaintiffs denied a reasonable request from FCC to obey the

Court's CMO, they have essentially stated that the expert disclosures ordered by the

Cour can be ignored completely because they may eventually serve expert reports.



i First Choice Carrier was added to this case after entr of
                                                            the CMO, and was not served with Plaintiffs'
First Amended Complaint until January 7, 2009.
2 Plaintiffs actually served two expert disclosures/witness lists. Both are attached in exhibit 1.



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           7.          Plaintiffs' blatant disregard ofthis Court's order is contrary to the Federal

Rules of      Civil Procedure and they should be sanctioned. See, Fed. R. Civ. P. 37.

           WHEREFORE, Defendant FCC moves this Cour for an Order striking all of

Plaintiffs' experts due to their refusal to comply with this Court's CMO.

                                                     BRIEF IN SUPPORT

i.         Issue Presented

           Whether Plaintiffs' experts should be stricken due to Plaintiffs' refusal to comply

with this Court's Case Management Order.

FCC responds:yes

II.        Legal Authority

           The Case Management Order ("CMO") was entered November 6,2008, and

required the then Plaintiffs and Defendants3 to disclose the name, address, area of

expertise and a short summary of expected testimony from their experts on or before

Januar 2,2009. See Docket # 20.


            When a party fails to comply with a court order sanctions are appropriate.

Specifically, Fed. R. Civ. P. 37(b)(2)(A)(i-iv) provides, in par:


       (b) Failure to Comply with a Court Order.

            (2) Sanctions in the District Where the Action Is Pending.

            (A) For Not Obeying a Discovery Order. If a party or a pary's officer, director, or
            managing agent --or a witness designated under Rule 3 O(b )( 6) or 31 (a)( 4 )-- fails to
            obey an order to provide or permit discovery, including an order under Rule 26(f),
            35, or 37(a), the court where the action is pending may issue fuher just orders.
            They may include the following:



3 First Choice Carrier was added to this case after entry of
                                                                   the CMO, and was not served with Plaintiffs'
First Amended Complaint until January 7,2009.


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                  (i) directing that the matters embraced in the order or other designated
                  facts be taken as established for purposes of the action, as the prevailing
                  pary claims;

                  (ii) prohibiting the disobedient party from supporting or opposing
                  designated claims or defenses, or from introducing designated matters in
                  evidence;

                  (ii) striking pleadings in whole or in par;

                  (iv) staying further proceedings until the order is obeyed;

                  (v) dismissing the action or proceeding in whole or in par;

                  (vi) rendering a default judgment against the disobedient party; or


         In this case, it is undisputed that Plaintiffs failed to comply with this Cour's

CMO.

III.     Argument

         1.       Plaintiffs' Refusal to Obey This Court's CMO Should be Sanctioned

         As, noted above, the Plaintiffs served a noncompliant disclosure (expert witness

list) three days late on Januar 5, 2009, that did not include a short sumary of the

expert's expected testimony. See Exhibit 1. On January 21, 2009, FCC informed

Plaintiffs that their disclosures did not provide a short summar of expected testimony as

required by the CMO. See Exhibit 2.           On January 21, 2009, Plaintiffs informed FCC

that FCC's request for Plaintiffs to comply with the CMO and provide a short summary

of expected expert testimony was "obviated" because expert reports were due on

February 2, 2009. See Exhibit 3.

         Plaintiffs denied a reasonable request from FCC to obey the Court's CMO. They

are essentially stating that the expert disclosures ordered by this Court can be ignored

completely because they may eventually serve expert reports. This blatant disregard of


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this Court's order is contrary to the Federal Rules of Civil Procedure and must be

sanctioned. See, Fed. R. Civ. P. 37.

iv.     Conclusion

        WHEREFORE, Defendant FCC moves this Cour for an Order striking all of

Plaintiffs' experts due to their refusal to comply with this Court's CMO.

                                              Bowman and Brooke LLP


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                                 CERTIFICATE OF SERVICE

         I certify that on January 26, 2009, I electronically fied the foregoing paper with

the Clerk of the Court using the ECF system which wil send notification of such fiing to

the following:

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